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 8
     FEDERAL DEPOSIT INSURANCE CORPORATION, AS
 9   RECEIVER FOR SILICON VALLEY BANK

10                                UNITED STATES DISTRICT COURT
11                             NORTHERN DISTRICT OF CALIFORNIA
12                                        (OAKLAND DIVISION)
13

14   MICHAEL B. ROTHENBERG,                            Case No. 23-cv-01603-JST
15   an individual,
                                                       DEFENDANT AND CROSS-
16                                                     COMPLAINANT FEDERAL DEPOSIT
             Plaintiff and Cross-Defendant,            INSURANCE CORPORATION, AS
17                                                     RECEIVER FOR SILICON VALLEY
             vs.
                                                       BANK’S CASE MANAGEMENT
18                                                     STATEMENT
     FEDERAL DEPOSIT INSURANCE
19   CORPORATION, as receiver for Silicon
     Valley Bank, a corporation,
20                                                     CMC Date: October 8, 2024
                                                       Time: 2:00 p.m.
21           Defendant and Cross-Complainant.          Place: Via Zoom

22                                                     Honorable Jon S. Tigar
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     Defendant and Cross Complainant FDIC-R’s Case                              Case No. 23-cv-01603-JST
     Management Statement
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 1           Pursuant to the Clerk’s Notice [Dkt. 42], Defendant and Cross-Complainant Federal

 2   Deposit Insurance Corporation, as receiver for Silicon Valley Bank (“Defendant/Cross-

 3   Complainant” or “FDIC-R”) submits this Case Management Statement in advance of the Further

 4   Case Management Conference scheduled in this matter for October 8, 2024 at 2:00 p.m.

 5           As an initial matter, the FDIC-R provides the following update to the Court regarding

 6   anticipated motion practice in this action. The FDIC-R plans to file one or both of the following

 7   motions: (1) a motion for sanctions, including but not limited to terminating sanctions, pursuant

 8   to Rule 37 for Plaintiff and Cross-Defendant Michael Rothenberg’s (“Mr. Rothenberg”) failure

 9   to comply with Court orders regarding discovery; and (2) a motion for summary judgment or

10   partial summary judgment pursuant to Rule 56, based in part on the preclusive effect of Mr.

11   Rothenberg’s prior conviction for the same fraudulent conduct at issue in the FDIC-R’s claims

12   here. See Sec. & Exch. Comm’n v. Stein, 906 F.3d 823, 828 (9th Cir. 2018) (discussing

13   preclusive effect of criminal convictions in related civil proceedings).

14           In addition, Mr. Rothenberg’s sentencing hearing in the related criminal matter (USA v.

15   Rothenberg, Case No. 4:20-cr-00266-JST) was continued from September 12, 2024 to

16   November 8, 2024. Accordingly, the FDIC-R respectfully requests that this Court continue the

17   Case Management Conference to a date after November 8, 2024 so that the Parties can discuss

18   with the Court the effect of Mr. Rothenberg’s sentencing on this matter. The FDIC-R has

19   concurrently filed an administrative motion requesting this continuance. [See Dkt. 43]

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21   Dated: October 1, 2024                      PILLSBURY WINTHROP SHAW PITTMAN LLP

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                                                 By:  /s/ Laura C. Hurtado
23                                               THOMAS V. LORAN III
24                                               LAURA C. HURTADO
                                                 ALEKZANDIR MORTON
25
                                                 Attorneys for Defendant and Cross-Complainant
26                                               Federal Deposit Insurance Corporation, as Receiver
                                                 for Silicon Valley Bank
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     Defendant and Cross Complainant FDIC-R’s Case                                Case No. 23-cv-01603-JST
     Management Statement
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 1                                   CERTIFICATE OF SERVICE

 2           I hereby certify that on the 1st day of October 2024, true and correct copy(ies) of the

 3   foregoing document(s) was served via email to the following party:

 4           Michael B. Rothenberg
             Email: mrothenberg@rothenberg.co
 5                  svb@rothenberg.co
 6

 7                                                       Anna Lau
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     Defendant and Cross Complainant FDIC-R’s Case                             Case No. 23-cv-01603-JST
     Management Statement
